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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
BRUCE FRANKS, JR., )
)
Plaintiff, )
)
Vv. ) Case No. 4:16-cv-2138
)
)
ST. LOUIS COUNTY POLICE OFFICER _ )
DAVID STEINMEYER, et al. )
)
Defendants. )
)
) ;

MEMORANDUM OF LAW IN SUPPORT OF THE MOTION FOR SUMMARY
JUDGMENT FILED BY DEFENDANT DAVID STEINMEYER

Preliminary Statement

Defendant David Steinmeyer is being sued.in his personal capacity for actual damages
and punitive damages pursuant to 42 U.S. C. 1983, and also for the state common law tort of
battery. The lawsuit against Officer Steinmeyer is without merit. He has filed a Motion for
Summary Judgment and a Statement of Uncontroverted Material Facts. This Memorandum of
Law is in support of the Motion for Summary Judgment.

It should be noted that Plaintiff's complaint is in two counts. It appears that the
Complaint had been copied and pasted from some other lawsuit. Count I is referred to by
plaintiff as Count II, and Count II is referred to by plaintiff as Count IV.

Statement of Facts |

Defendant David Steinmeyer incorporates as though fully set out herein his Statement of

Undisputed Material Facts as well as his affidavit that is marked as Exhibit A. From this

affidavit and from allegations of the Complaint, the following facts are not in dispute.
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On the night of December 23, 2014 David Steinmeyer was an experienced St. Louis
~ County police officer assigned to the Central County precinct to patrol unincorporated areas of
St. Louis County, and on that night he worked the 8 p.m. to 6 a.m. shift. A City of Berkeley
police officer killed a man named Antonio Martin that day. A “civil protest” formed that night at
the Mobil-On-The-Run gas station within the City of Berkeley. The Berkeley police department
issued a call for assistance to other police departments. Officers from various municipal police
departments arrived. In addition, some St. Louis County officers attived, including Officer |
Steinmeyer under the supervision of his sergeant. The scene at the Mobil-On-The-Run was
chaotic and included aggression toward the police. Bruce Franks and three people named Paul
Muhammed, Calvin Kennedy, and Carlos Bell call themselves peacekeepers, and they went to
the scene because Franks said that they are trained to de-escalate and defuse volatile situations.
The peacekeeper group began their de-escalation efforts Bruce Franks observed an unidentified
officer grab Calvin Kennedy, and so Franks “bear hugged” Kennedy to pull him back from the
unidentified officer. A struggle ensued with the officer and the three men lost their balance and
fell to the ground. An unidentified officer ordered Franks to turn over face down and so Franks
complied and he-was handcuffed, and an officer got on his back. Simultaneous with that, a
flash bang went off. When the flashbang went off, Officer Steinmeyer was attempting to
handcuff a man later identified as Cameron Martin, but the flashbang stunned Officer Steinmeyer
and with his ears ringing he was unable to complete the handcuffing of Mr. Martin; he just
leaned or bent over. Officer Steinmeyer was not involved in the handcuffing of Mr. .Franks. As

far as Officer Steinmeyer knows, he has never touched or spoken to Mr. Franks in his life.
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Statement of Law _.

~ Summary judgment is proper “ifthe movant shows that there is no genuine dispute as to == = >

any material fact and the movant is entitled to judgment as a matter of law,” F.R.C.P. 56(a); Hill
v. Walker, 737 F. 3d 1209, 1216 (3 Cir. 2013). Ona motion for summary judgment, facts
must be viewed in the light most favorable to the nonmoving party only if there is a genuine
dispute as to those facts. Ricci v. DeStefano, 557 U.S. 557, 129 S. Ct. 2658, 2677 (2009)
(quoting Scott v. Haris, 550 U.S. 372, 380 (2007) (internal quotations omitted). Also see
AgriStor Leasing v. Farrow, 826 F. 2d 732, 734 (8" Cir. 1987). The moving party bears the
burden of showing both the absence of a genuine issue of material fact and its entitlement to
judgment as a matter of law. Anderson v. Liberty Lobby, Inc, 477 U.S. 242 (1986). The -
nonmovant “must do more than simply show that there is some metaphysical doubt as to the
material facts” and must come forward with “specific facts showing that there isa genuine issue
for trial.” Matsushita Elec. Indus. Co v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986).
Summary judgment procedure is properly regarded not as a disfavored procedural shortcut but
rather as an integral part of the federal rules as a whole, which are designed to secure the just,
speedy and inexpensive determination of every action. Celotex Corp. v. Catrett, 477 U.S. 317,
323 (1986). The mere existence of some alleged factual dispute between the parties will not
defeat an otherwise properly supported motion for judgment; the requirement is that there be no
genuine issue of material fact. Anderson vy. Liberty Lobby, Inc. at 247-48 (1986). A plaintiff
cannot create sham issues of fact to defeat summary judgment, Wilson v. Westinghouse Elec.
Corp., 838 F. 2d 286, 289 (8 Cir. 1988).

It should be noted that plaintiff now seems to realize that allegations made in the

Complaint were wrong. For example, although plaintiff alleges that Berkeley police officer
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Valdespino “repeatedly beat Mr. Franks’ legs with a baton” plaintiff has already moved to

~-dismiss Officer Valdespino in Doc 13. The affidavit of Officer-Steinmeyer demonstrates that~-~~-

the allegations pertaining to Steinmeyer are also wrong; Steinmeyer did not get on top of Mr.
Franks’ back as alleged in paragraph 28, and in fact did not touch or speak to Mr. Franks.
However it is undisputed that a serious situation was occurring, police officers from all over St.
Louis were summoned to assist the Berkeley police department, the “peacekeeper” group was
attempting to defuse and deescalate the situation, and then when an unidentified police officer
grabbed Mr. Kennedy, then Mr. Franks by his own pleadings “bear-hugged” Mr. Kennedy, and
then during “the brief struggle that ensued” with the police officer, Mr. Kennedy and Mr. Franks
and the officer lost their balance and fell to the ground. Other officers responded, and one of the
. officers who responded, mistakenly referred to as Defendant Steinmeyer, got on Mr. Franks’
-back. That police officer is not Officer Steinmeyer. Whoever it is that got on top of the back of
Mr. Franks, would be entitled to Qualified Immunity. So even if Officer Steinmeyer had gotten
on the back of Mr. Franks (which he did not) Steinmeyer would be entitled to Qualified
Immunity.

Qualified Immunity protects government official from liability for civil damages if they
have not violated clearly established statutory or constitutional rights of which a reasonable
person would have known. Akins v. Epperly, 588 F. 3d 1178, 1183 (* Cir. 2009) (quoting
Harlow vy. Fitzgerald, 457 U.S. 800, 818 (1982). This immunity permits government officers to’
make reasonable errors. Habiger v. City of Fargo et al, 80 F. 3d 289, 295 (3 Cir. 1996) and
provides ample room for mistaken judgments. Malley v. Briggs, 475 U.S. 335, 343 (1986); -
Borgman v. Kedley, 646 F. 3d 518, 522 (8" Cir. 2011). The qualified immunity defense protects

public officials unless they are plainly incompetent or knowingly violate the law. Jd., (Quoting
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Hunter v. Bryant, 502 U.S. 224, 229 (1991). Also see Messerschmidt v. Millender, 132 S. Ct.

- 1235; 1244 (2012) (citations omitted): “Officials are not liable for bad guesses in gray areas; ~
they are liable for transgressing bright lines (citation omitted).” Luckert v. Dodge County, 684 F.
3d 808, 817 (3 Cir. 2012). Whether an officer’s use of force is excessive is a question of
whether the force used was objectively reasonable under the particular circumstances. Copeland
v. Locke, 613 F. 3d 875, 881 (8" Cir. 2010). Also see Foster v. Metro Airports Comm’n, 914 F.
2d 1076, 1082 (3 Cir. 1990), Whether a particular use of force is unreasonable must be judged
from the perspective of a reasonable officer on the scene rather than with the 20/20 vision of
hindsight. Schoettle v. Jefferson County, 788 F. 3d 855, 859 quoting Graham v. Connor, 490 U.
_ §. 386, 396 (1989). Government officers are often forced to make split second judgments in
circumstances that are tense and uncertain, and rapidly evolving about the amount of force that is
necessary in a particular situation. Id. Additional considerations to determine the
reasonableness of force used are the relationship between the need for the use of force and the
amount of force used; the extent of the plaintiffs injury; any effort made by the officer to temper
or to limit the amount of force; the severity of the security problem at issue; the threat reasonably
perceived by the officer; and whether the plaintiff was actively resisting. Kingsley v.
Hendrickson, 135 S. Ct. 2466, 273 (2015). To determine whether governmental officials are
entitled to qualified immunity, courts consider two factors: (1) whether the facts alleged,
construed in the light most favorable to the plaintiff established a violation of a constitutional or.
statutory rights and (2) whether that right was clearly established at the time of the alleged
violation, such that a reasonable person would have known that her actions were unlawful. Keil

v. Triveline, 661 F. 3d 981, 985 (8 Cir. 2011).
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Qualified Immunity is immunity from suit rather than merely a defense to liability.

Mitchell v. Forsyth, 472-U.-S. 511, 526 (1985). A: defendants~is entitled to a thorough

determination of a claim of qualified immunity if that immunity is to mean anything at all. :
O'Neill v. City of Iowa City, 496 F. 3d 915, 918 (8" Cir. 2007).

In addition the officer who allegedly got on the back of plaintiff, whoever he or she is,
would not be liable under state law.

In Missouri the standard for determining whether a law enforcement officer is liable for
assault and battery is different from the standard for determining whether a private individual is
liable. Washington v. Drug Enforcement Admin., 183 F. 3d 868, 874 (3 Cir. 1999). Under
Missouri law, a governmental official is not answerable in damages for assault and battery unless
he used more force than was reasonably necessary. Neal v. Helbling, 726 S. W. 2d 483, 487 (Mo.
Ct. App. 1987). Further it has been held that an officer in the first instance is the judge of the
manner and means to be taken in making an arrest, and unless a plaintiff can show that
unnecessary force was used, courts will protect the officer. Id (citing Manson v. Wabash
Railroad Co., 388 S.W. 2d 54, 61 (Mo. 1960). So under Missouri law, the officers did not
commit an assault and battery.

Under Missouri law, the doctrine of official immunity shields public officers and state
officials from civil liability for injuries arising out of their discretionary acts, functions, or
omissions performed in the exercise of their official duties. Hawkins v. Holloway, 316 F, 3d.
777, 788-89 (3 Cir. 2003) (quoting Harris v. Munoz, 43 8. W. 3d. 384, 387 (Mo. Ct. App.
2001). Also see Bachmann v. Welby, 860 S. W. 2d 31, 33 Mo. Ct. App. 1993). Official
immunity does not apply to acts done in bad faith or with malice. Jd. Bad faith or malice

generally requires actual intent to cause injury. Blue v. Harrah’s North Kansas City, 170 8. W.
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3d 466, 479 (Mo. Ct. App. 2005). Further, it has been held that a governmental officer’s

~~ decision to use force is discretionary with respect to Official Immunity: Davis v. White, 794 F.3d 99> ~

1008, 1013 cg" Cir. 2015). So under state law, the officer who allegedly got on the back of
Bruce Franks, after Franks and another man had a “brief struggle” with another police officer,
would be entitled to the defense of Official Immunity.
Conclusion

There are no material facts in dispute as to Defendant David Steinmeyer and he is entitled
to summary judgment as a matter of law. He was not use any force on Bruce Franks. He did
not violate the constitutional rights of Bruce Franks and even if he had been the officer who got
on the back of Mr. Franks after Franks and another man had a struggle with another police
officer causing the three of them to fall down, he.would be protected by Qualified Immunity
under federal law, and further as a matter of state law he did not commit a battery, and further
under state law he would be protected by the Doctrine of Official Immunity. Summary Judgment
is proper as to Police Officer David Steinmeyer.

Respectfully Submitted,

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CERTIFICATE OF SERVICE

~~~ > The-undersigned certifies that-a-copy of the foregoing was served electronically to all counsel-of: -
record via this Court’s Electronic Filing System this 15" day of March, 2017

/s/__Michael E. Hughes
